Case 3:20-cv-04688-RS   Document 341-14   Filed 10/13/23   Page 1 of 27




            EXHIBIT 10

PUBLIC REDACTED VERSION
      Case 3:20-cv-04688-RS        Document 341-14       Filed 10/13/23   Page 2 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

 1   WILLKIE FARR & GALLAGHER LLP
     BENEDICT Y. HUR (SBN: 224018)
 2     bhur@willkie.com
     SIMONA AGNOLUCCI (SBN: 246943)
 3
        sagnolucci@willkie.com
 4   EDUARDO E. SANTACANA (SBN: 281668)
       esantacana@willkie.com
 5   LORI C. ARAKAKI (SBN: 315119)
       larakaki@willkie.com
 6   ARGEMIRA FLOREZ (SBN: 331153)
       aflorez@willkie.com
 7
     HARRIS MATEEN (SBN: 335593)
 8     hmateen@willkie.com
     One Front Street, 34th Floor
 9   San Francisco, CA 94111
     Telephone: (415) 858-7400
10
     Attorneys for Defendant
11   GOOGLE LLC
12                               UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14                                             SAN FRANCISCO
15   ANIBAL RODRIGUEZ AND JULIE ANNA                  Case No. 3:20-CV-04688
     MUNIZ, individually and on behalf of all other
16   similarly situated,                              DEFENDANT GOOGLE LLC’S SECOND
17                                                    SUPPLEMENTAL OBJECTIONS AND
                                  Plaintiff,
                                                      RESPONSES TO PLAINTIFFS’
18          vs.                                       INTERROGATORIES, SET SIX
19   GOOGLE LLC, et al.,
20                                                    Judge:        Hon. Richard Seeborg
                                  Defendant.          Courtroom: 3, 17th Floor
21                                                    Action Filed: July 14, 2020

22

23
     PROPOUNDING PARTY:           PLAINTIFFS ANIBAL RODRIGUEZ AND JULIEANNA MUNIZ
24

25   RESPONDING PARTY:            DEFENDANT GOOGLE LLC

26   SET NO.:                     SIX (SECOND SUPPLEMENTAL RESPONSES)

27

28
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                       Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS           Document 341-14          Filed 10/13/23      Page 3 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (“Federal Rules”),

 2   Defendant Google LLC hereby submits its second supplemental objections and responses to

 3   Plaintiffs’ Sixth Set of Interrogatories, Set Six.

 4                  PRELIMINARY STATEMENT AND GENERAL OBJECTIONS
 5           1.    Each of Google’s responses is subject to, and incorporates, the following general

 6   objections. Google specifically incorporates each of these general objections into its responses to

 7   each of Plaintiffs’ Interrogatories, whether or not each such general objection is expressly referred

 8   to in Google’s responses to a specific Interrogatory.

 9           2.    Google objects to the instructions, definitions, and Interrogatories to the extent that

10   they are broader than, or attempt to impose conditions, obligations, or duties beyond those

11   required by the Federal Rules and/or the Local Rules. Google’s responses will be provided in

12   accordance with the Federal Rules and the Local Rules.

13           3.    Google objects to any Interrogatory to the extent that it is overbroad, unduly

14   burdensome, compound, and/or oppressive, or purports to impose upon Google any duty or

15   obligation that is inconsistent with or in excess of those obligations that are imposed by the

16   Federal Rules, the Local Rules, or any other applicable rule or Court order. In particular, Google

17   objects to any Interrogatory to the extent that it calls for information not relevant to the claims or

18   defenses of the parties, or not proportional to the needs of this case.

19           4.    Google objects to each Interrogatory to the extent it is vague, ambiguous, overly

20   broad, or unduly burdensome as to time frame.

21           5.    Google objects to each Interrogatory to the extent that it purports to attribute any

22   special or unusual meaning to any term or phrase.

23           6.    Google objects to each Interrogatories to the extent they seek confidential,

24   proprietary, or trade secret information of third parties.

25           7.    Google’s objections and responses to these Interrogatories are not intended to waive

26   or prejudice any objections Google may assert now or in the future, including, without limitation,

27   objections as to the relevance of the subject matter of any Interrogatory, or as to the admissibility

28                                                        2
                    GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                              TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                             Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS           Document 341-14         Filed 10/13/23       Page 4 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   of any information or category of information at trial or in any other proceedings. Google

 2   expressly reserves any and all rights and privileges under the Federal Rules of Civil Procedure, the

 3   Federal Rules of Evidence, the Local Rules, and any other applicable laws or rules, and the failure

 4   to assert such rights and privileges or the inadvertent disclosure by Google of information

 5   protected by such rights and privileges shall not constitute a waiver thereof, either with respect to

 6   these responses or with respect to any future discovery responses or objections.

 7          8.     Google has responded to the Interrogatories as it interprets and understands them. If

 8   Plaintiffs subsequently assert an interpretation of any Interrogatory that differs from Google’s

 9   understanding of that Interrogatory, Google reserves the right to supplement its objections and/or

10   responses. Google objects to each and every one of the purported Instructions as unduly

11   burdensome and inconsistent with the Federal Rules and Local Rules.

12          9.     Discovery in this matter is ongoing. Accordingly, Google reserves the right to

13   change, amend, or supplement any or all of the matters contained in these responses as Google’s

14   investigation continues, additional facts are ascertained, analyses are made, research is completed,

15   and additional documents are subsequently discovered, collected, and/or reviewed.

16                                   OBJECTIONS TO DEFINITIONS
17          10.    Google objects to the definition of the terms “GOOGLE,” “YOU,” and “YOUR” as
18   incomprehensible. Google construes GOOGLE, YOU, and YOUR to mean Google LLC. Google
19   further objects to this definition to the extent that it purports to include forms of information not

20   discoverable under the Federal Rules, the Local Rules, or any other applicable authority.

21          11.    Google objects to the definition of “ALL” as overbroad and nonsensical.

22          12.    Google objects to the definition of the terms “AUTHENTICATED DATA” and

23   “UNAUTHENTICATED/PSEUDONYMOUS DATA” as vague, ambiguous, unintelligible,

24   and/or unrelated to this case. Plaintiffs appear to have used terminology that relates to other

25   litigation in which Plaintiffs’ counsel are involved, but that has no bearing in this case.

26

27

28                                                      3
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS           Document 341-14          Filed 10/13/23      Page 5 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1           13.   Google objects to the definition of “CLASS PERIOD” as vague, ambiguous, and

 2   overbroad. Plaintiffs’ definition of the class period in this case is circular and legally

 3   impermissible.

 4           14.   Google objects to the definition of “GOOGLE” as overbroad.

 5           15.   Google objects to the definition of the terms “DESCRIBE,” “DESCRIPTION,”

 6   “CONCERNING,” “ASSOCIATED,” and “RELATING TO” as overbroad, oppressive, and

 7   circular.

 8           16.   Google objects to the definition of the terms “FINGERPRINTING” as vague,

 9   ambiguous, and/or unrelated to this case.

10           17.   Google objects to the definition of the terms “INCLUDE” or “INCLUDING” as

11   circular and vague.

12           18.   Google objects to the definition of “USER” as ambiguous, overbroad, unduly

13   burdensome, and partially irrelevant, including because it purports to incorporate the vague,

14   ambiguous, and overbroad term “service” without limitation, and also purports to include

15   applications that use Firebase SDK writ large.

16           19.   Google objects to the definition of the terms “WAA OFF DATA” as ambiguous,

17   overbroad, unduly burdensome, and partially irrelevant, including because it purports to seek

18   “data generated by a user’s use of non-GOOGLE apps that employ or embed any GOOGLE

19   service” without limitation to the services at issue in this action.

20                                RESPONSES TO INTERROGATORIES
21   INTERROGATORY NO. 12:
22           State the numbers of unique GOOGLE Accounts, for which the user disabled (i.e., “turned

23   off”) WAA or sWAA during the Class Period, associated with the following three geographical

24   locations: the world, the United States, and California. Include, in your answer:

25           a)    The number of unique GOOGLE Accounts for which the user disabled (i.e., turned

26   “off”) WAA or sWAA at least once during the class period.

27

28                                                       4
                    GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                              TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS          Document 341-14         Filed 10/13/23      Page 6 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1          b)     The number of unique GOOGLE Accounts (i) for which the user disabled (i.e.,

 2   turned “off”) WAA or sWAA at least once during the class period, AND (ii) the geographical

 3   and/or geolocation data, associated with the Account, indicate that the user resided in the United

 4   States during any part of the Class Period.

 5          c)     The number of unique GOOGLE Accounts (i) for which the user disabled (i.e.,

 6   turned “off”) WAA or sWAA at least once during the class period, AND (ii) the geographical

 7   and/or geolocation data, associated with the Account, indicate that the user resided in California

 8   during any part of the Class Period.

 9   RESPONSE TO INTERROGATORY NO. 12:
10         Google objects to this Interrogatory as vague and ambiguous as to several undefined terms
11   and phrases susceptible to multiple meanings. For purposes of this response, Google construes
12   “Google” to mean Google LLC and “WAA” to mean the account-level setting called Web & App
13   Activity. Google further objects to this Interrogatory as overbroad, unduly burdensome, and
14   abusive to the extent it seeks information “associated” with Google Accounts around “the world”
15   and across “the United States,” both of which are beyond the jurisdictional scope of this action.
16   Google further objects to this Interrogatory to the extent that it seeks information protected by the
17   attorney-client privilege and/or the attorney work product doctrine.
18          Subject to and without waiving the foregoing objections, Google responds as follows:
19   From July 27, 2016 to July 27, 2020,                       Google Accounts in the United State

20   turned off Web & App Activity settings for any period of any time.

21   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 12:
22          Subject to and without waiving the foregoing, Google responds further as follows:

23

24

25

26

27

28                                                     5
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS           Document 341-14         Filed 10/13/23       Page 7 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2                                          .

 3          From July 27, 2016 to July 27, 2020,                         Google accounts in the United

 4   States turned off the “sWAA” setting for any period of any time.

 5          Google will supplement Interrogatory No. 12 during expert discovery to the extent a

 6   continued diligent search uncovers additional responsive information.

 7   INTERROGATORY NO. 13:
 8          Please IDENTIFY and DESCRIBE every GOOGLE dashboard, bit, field, or tracking tool

 9   that currently contains or previously during the CLASS PERIOD contained any information

10   related to the WEB & APP ACTIVITY status (e.g., disabled vs. enabled, including for WAA

11   and/or sWAA) of any GOOGLE Account, including aggregated statistics. This Request includes a

12   DESCRIPTION of all information available (or previously available) from that dashboard, bit,

13   field, or tracking tool. This Interrogatory includes any dashboard, bit, field, or tracking tool that

14   includes or included information regarding revenues associated with traffic according to WEB &

15   APP ACTIVITY status.

16   RESPONSE TO INTERROGATORY NO. 13:
17          Google objects to this Interrogatory as vague and ambiguous as to several undefined terms
18   and phrases susceptible to multiple meanings. For purposes of this response, Google construes
19   “Google” to mean Google LLC and “WAA” to mean the account-level setting called Web & App

20   Activity. Google additionally objects to this Interrogatory as vague, ambiguous, and confusing as

21   to the use of the undefined phrase “dashboard, bit, field, or tracking tool” and “status . . . of any

22   Google Account, including aggregated statistics.” Google further objects to this Interrogatory as

23   overbroad, unduly burdensome, and abusive to the extent it seeks information that is not relevant

24   to any claim or defense in this Action, including because it seeks information concerning “every

25   Google dashboard, bit, field, or tracking tool” containing “any information related to the Web &

26   App Activity status of any Google account” without limitation to data sent to Google by

27   third-party app developers after collection, if any, through GA for Firebase, Cloud Messaging, or

28                                                      6
                    GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                              TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS          Document 341-14          Filed 10/13/23      Page 8 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   AdMob—i.e. concerning, Plaintiff’s theory of wrongdoing in the Third Amended Complaint.

 2   Google further objects to this Interrogatory or overbroad and unduly burdensome to the extent that

 3   Google does not have a central source of dashboards or tracking tools. Google further objects to

 4   this Interrogatory to the extent that it seeks information protected by the attorney-client privilege

 5   and/or the attorney work product doctrine.

 6          Subject to and without waiving the foregoing objections, Google responds as follows:

 7   Google maintains the “My Activity Metrics” dashboard, which provides certain measurements of

 8   Google account interactions with the Web & App Activity setting; the “Web & App Activity

 9   Log,” which tracks Web & App Activity on-and-off events for all Google Account IDs on an

10   individual level; and the “User Attributes” table, which contains information about a user’s

11   Google Account settings, including their Web & App Activity setting.

12   INTERROGATORY NO. 14:
13          Please IDENTIFY every data source (including logs) that includes or during the CLASS
14   PERIOD included WAA OFF DATA. For each such data source, please include a list of field
15   names and descriptions, the retention period, and how such data sources are used.
16   RESPONSE TO INTERROGATORY NO. 14:
17         Google objects to this Interrogatory as vague and ambiguous as to several undefined terms
18   and phrases susceptible to multiple meanings. For purposes of this response, Google construes
19   “Google” to mean Google LLC and “WAA” to mean the account-level setting called Web & App

20   Activity. Google additionally objects to this Interrogatory as vague, ambiguous, and confusing as

21   to the use of THE undefined phrases “every data source (including logs),” and “how such data

22   sources are used.”

23         Google further objects to this Interrogatory as overbroad, unduly burdensome, and abusive

24   to the extent it seeks data sources without limitation to data sent to Google by third-party app

25   developers after collection, if any, through GA for Firebase, Cloud Messaging, or AdMob—i.e.

26   concerning, Plaintiff’s theory of wrongdoing in the Third Amended Complaint.

27

28                                                      7
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS          Document 341-14          Filed 10/13/23        Page 9 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1         Google further objects to this Interrogatory as overbroad, unduly burdensome, and

 2   compound because it seeks an identification of every “data source (including logs)” without a

 3   clear definition of what Plaintiffs consider to qualify as a “data source.”

 4          Google further objects to this Interrogatory as overbroad, unduly burdensome, and abusive

 5   to the extent it seeks information regarding all uses of “WAA OFF DATA” without limitation to

 6   data sent to Google by third-party app developers after collection, if any, through GA for

 7   Firebase—i.e. concerning Plaintiff’s theory of wrongdoing in the Third Amended Complaint.

 8          Google further objects to this Interrogatory to the extent that it seeks information protected

 9   by the attorney-client privilege and/or the attorney work product doctrine.

10          Subject to and without waiving the foregoing, Google responds as follows:

11          Google has provided exacting detail of its main logs associated with the transmission of

12   app-interaction / measurement data to Google via Google Analytics for Firebase when a user has

13   turned WAA to “off,” inter alia, in response to Plaintiffs’ Interrogatory No. 1. Google has also

14   provided samples of those primary logs that store the transmitted data, and is investigating further

15   potential data sources that may contain such data. Google states, however, that it is not practical or

16   relevant to account for every single potential data source (including logs) that may contain such

17   data because there are various downstream users of the pseudonymous data described in response

18   to Plaintiffs’ Interrogatory No. 1. Nevertheless, the policies in place as described in response to

19   Interrogatory No. 1, including the policies that forbid the re-association of pseudonymous data

20   with personal identifiers, apply to all such downstream users of the data.

21   INTERROGATORY NO. 15:
22          Please DESCRIBE how GOOGLE currently uses and previously during the CLASS

23   PERIOD has used WAA OFF DATA, including by explaining the extent to which and how

24   GOOGLE currently uses and previously during the CLASS PERIOD used WAA OFF DATA to

25   track or measure conversions and personalize advertisements.

26

27

28                                                      8
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS           Document 341-14          Filed 10/13/23       Page 10 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   RESPONSE TO INTERROGATORY NO. 15:
 2           Google objects to this Interrogatory as vague and ambiguous with respect to the phrases

 3   “track or measure conversions” and “personalize advertisements.” Google objects to this

 4   Interrogatory as vague and ambiguous as to several undefined terms and phrases susceptible to

 5   multiple meanings. For purposes of this response, Google construes “Google” to mean Google

 6   LLC and “WAA” to mean the account-level setting called Web & App Activity.

 7           Google further objects to this Interrogatory as overbroad, unduly burdensome, and abusive

 8   to the extent it seeks information regarding all uses of “WAA OFF DATA” without limitation to

 9   data sent to Google by third-party app developers after collection, if any, through GA for

10   Firebase—i.e. concerning Plaintiff’s theory of wrongdoing in the Third Amended Complaint.

11   Google further objects to this Interrogatory as duplicative, including because Google has already

12   responded to an interrogatory describing “what occurs when users . . . turn off (or previously

13   paused) Web & App Activity.”

14           Google further objects to this Interrogatory to the extent that it seeks information protected

15   by the attorney-client privilege and/or the attorney work product doctrine.

16           Subject to and without waiving the foregoing objections, Google responds as follows:

17   Google hereby incorporates its response and supplemental responses to Plaintiffs’ Interrogatory

18   No. 1 as if set forth here, and objects to this Interrogatory to the extent it is duplicative of

19   Interrogatory No. 1. In addition to Google’s responses to Interrogatory No. 1, Google responds

20   here that it uses data sent to it via Google Analytics for Firebase for each of the uses described in

21   its Privacy Policy and Google Analytics for Firebase Terms of Service, according to the settings

22   and consents provided by both end users and Firebase customers. This includes pseudonymous

23   conversion tracking and ad targeting for anonymized ad profiles.

24   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 15
25           Subject to and without waiving the foregoing, Google responds further as follows:

26

27

28                                                       9
                    GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                              TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                             Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS         Document 341-14         Filed 10/13/23      Page 11 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10   INTERROGATORY NO. 16:
11          Please DESCRIBE all facts that support or undermine a defense or affirmative defense that
12   YOU have asserted, intend to, will, or may assert in the present litigation.
13   RESPONSE TO INTERROGATORY NO. 16:
14         Google objects to this Interrogatory as compound and unduly burdensome. Google objects
15   to this Interrogatory as vague and ambiguous with respect to the phrase “support or undermine a
16   defense or affirmative defense.” Google further objects to this Interrogatory because it
17   prematurely seeks expert opinion. Google further objects to this Interrogatory to the extent that it
18   seeks information protected by the attorney-client privilege and/or the attorney work product
19   doctrine.

20         Subject to and without waiving the foregoing objections, Google responds that it is willing

21   to meet and confer with Plaintiffs over an appropriate response to this Interrogatory, including

22   with respect to how to address its compound nature.

23   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 16:
24          Subject to and without waiving the foregoing, Google responds further as follows:

25          App developers who use the GA for Firebase SDK must agree to Google Analytics Terms

26   of Service, which requires that app developers disclose the use of Google Analytics and how it

27   collects and processes data. See https://firebase.google.com/terms/analytics;

28                                                    10
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                           Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS         Document 341-14         Filed 10/13/23      Page 12 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   https://marketingplatform.google.com/about/analytics/terms/us/. App developers who use GA for

 2   Firebase SDK have been expected to comply with the Google Analytics Terms of Service and/or

 3   the GA for Firebase Terms of Service, including disclosing to end users that they use Google’s

 4   analytics services, and that certain data is being collected by the app developer and transmitted to

 5   Google to store, process, and analyze.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19          If the data was generated while WAA was off, the                                  and

20   therefore not used for personalized advertising purposes. Users also have the option to configure

21   their device and account settings to control whether ads are personalized. See, e.g.,

22   https://support.google.com/accounts/answer/2662922#stop goog p13n.

23

24

25

26

27                                                                                                          .

28                                                    11
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                           Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS          Document 341-14         Filed 10/13/23      Page 13 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1          Google has learned through the course of named plaintiff depositions that each named

 2   Plaintiff lacks Article III standing as well as standing to sue more generally because none has

 3   suffered an injury. What follows are Google’s legal contentions concerning Plaintiffs’ standing.

 4          First, Plaintiffs Cataldo and Santiago did not suffer any injury because they manufactured

 5   their injuries in this case. Each of them first turned off their WAA control after learning of the

 6   substance of their allegations in this case. They subsequently willingly engaged with the very apps

 7   they alleged were working a violation of their privacy. Plaintiff Rodriguez lacks standing because

 8   he only had his WAA control off for seven days during the proposed class period, and during

 9   those ten days, he had his

10                                                      . Further, he confirmed in testimony that he

11   would not have changed his behavior in a but-for world because, after making his allegations in

12   this case, he did not change any of his behavior, and instead willingly submitted to the alleged

13   violations of privacy. And Plaintiff Harvey admitted during her deposition that she did not turn

14   WAA on or off for any particular reason, and that she has not changed her behavior since filing

15   this case despite the alleged violations of privacy. Finally, both Plaintiff Rodriguez and Plaintiff

16   Harvey refused to testify when given the opportunity to do so that, if the Court rules Google’s

17   practices are lawful, they would change any of their behavior to avoid the alleged violations of

18   privacy.

19   INTERROGATORY NO. 17:
20          Please DESCRIBE all facts concerning the revenue and profits that GOOGLE generates or

21   receives related to the collection, storage, or use of WAA OFF DATA including for each year

22   during the CLASS PERIOD:

23          a.     The amount of those revenue and profits by year and month

24          b.     How those revenue and profits are and have been generated;

25          c.     GOOGLE’s total revenue and profits related to GOOGLE Analytics;

26          d.     What percentage of the revenue and profits reported in response to subparagraph (c)

27   were generated based on WAA OFF DATA;

28                                                     12
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                            Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS            Document 341-14         Filed 10/13/23     Page 14 of 27

                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1          e.        Google’s total revenue and profits related to AdMob;

 2          f.        What percentage of the revenue and profits reported in response to subparagraph (e)

 3   were generated based on WAA OFF DATA;

 4          g.        How said revenue and profits are and have been accounted for within or attributed to

 5   the profit and costs centers of GOOGLE, specifying any GOOGLE products, services, teams, and

 6   accounting units;

 7          h.        The amount of said revenue and profits attributed to the profit and costs centers of

 8   GOOGLE, specifying any GOOGLE products, services, teams, and accounting units, described by

 9   year and month; and

10          i.        The amount of those revenues broken down by region, including for the United

11   States and California

12          j.        An IDENTIFICATION of all documents relied on in responding to this

13   Interrogatory.

14   RESPONSE TO INTERROGATORY NO. 17:
15         Google objects to this Interrogatory as compound. Google objects to this Interrogatory as
16   vague and ambiguous as to several undefined terms and phrases susceptible to multiple meanings.
17   For purposes of this response, Google construes “Google” to mean Google LLC and “WAA” to
18   mean the account-level setting called Web & App Activity. Google additionally objects to this
19   Interrogatory as vague, ambiguous, and confusing as to the use of THE undefined phrases

20   “generates or receives,” “collection, storage, or use,” “generated,” “accounted for within,”

21   “attributed to,” “profit and costs center,” and “relied on.”

22          Google further objects to this Interrogatory as overbroad, unduly burdensome, and abusive

23   to the extent it seeks revenue and profits, without limitation to revenue attributed to data sent to

24   Google by third-party app developers after collection, if any, through GA for Firebase, Cloud

25   Messaging, or AdMob—i.e. concerning Plaintiff’s theory of wrongdoing in the Third Amended

26   Complaint.

27

28                                                       13
                      GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                                TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                              Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS         Document 341-14          Filed 10/13/23     Page 15 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1          Google further objects to this Interrogatory as overbroad and unduly burdensome to the

 2   extent Google does not track its revenues or profits as connected to the collection, storage, or use

 3   of “WAA OFF DATA,” as defined by Plaintiffs. Google also objects to this Interrogatory as

 4   overbroad and unduly burdensome to the extent Google does not track revenues or profits for

 5   Google Analytics or AdMob.

 6          Google further objects to this Interrogatory to the extent that it seeks information protected

 7   by the attorney-client privilege and/or the attorney work product doctrine.

 8   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 17:
 9          Subject to and without waiving the foregoing, Google responds further as follows:

10

11

12

13

14

15

16

17

18

19

20          Where advertising is discussed below, it is in reference to App Campaigns, which are ad

21   campaigns advertisers who have GA4F enabled in their apps will run to drive installs or re-

22   engagement with their apps. See https://support.google.com/google-

23   ads/topic/10011871?hl=en&ref topic=10287124,3181080,3126923. Further, Google interprets

24   this interrogatory to exclude signed-out users.

25         First, when a user has sWAA on, as well as GAP, and does not have LAT or OOOAP
26   enabled, and the developer has enabled Google Signals and linked their GA4F property to Google

27   Ads, and the user is considered neither a Unicorn (under 13) or a Dasher account (enterprise), app

28                                                     14
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                           Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS         Document 341-14        Filed 10/13/23      Page 16 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   measurement data from GA4F                                                                       ,

 2   which can subsequently be used for interest-based advertising, depending on the user’s privacy

 3   settings at the time of ad serving (i.e., if they have GAP on and have not enabled LAT or

 4   OOOAP). Google understands this revenue stream to be outside the scope of this case, because it

 5   depends on the user having sWAA on at the time the app measurement data was generated.

 6   Google does not use app measurement data generated while a user is signed in and has sWAA off

 7   (which is necessarily off when WAA is off) for personalized advertising (i.e., interest-based

 8   advertising).

 9         Second, when a GA4F developer has linked their Analytics property to a Google Ads
10   account, that enables conversion tracking under appropriate circumstances. See, e.g.,

11   https://support.google.com/google-ads/answer/1722054. On Android, GA4F conversions are

12   registered using the pseudonymous identifier ADID; they could also be registered using GAIA if
13   the user has sWAA turned on as well as other privacy settings configured properly (GAP on, NAC
14   on, LAT off) and if the developer has enabled Google Signals. On iOS, GA4F registers
15   conversions using the pseudonymous identifier IDFA. If the iOS IDFA is zeroed out because the
16   user has enabled LAT or clicked “Don’t Allow” on the App Tracking Transparency prompt,
17   GA4F would be unable to directly associate app-install conversions with ad impressions and
18   clicks which drove them. Regardless, no data in this scenario would be written to UUAD or used
19   for personalized advertising. App developers can also use third parties to track conversions, such

20   as AppsFlyer and Kochava. See https://support.google.com/google-

21   ads/answer/9260620?hl=en&ref topic=11069497.

22

23

24          In a process called attribution, Google serves as an accountant for the app

25   developer/advertiser, determining if the ad interaction and the conversion recorded by GA4F or by

26   a third party SDK were made by the same device or user so the developer/advertiser can measure

27

28                                                   15
                     GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                               TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                          Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS        Document 341-14         Filed 10/13/23     Page 17 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   the effectiveness of the ad campaign. See id. (discussing how to track conversions with Firebase

 2   and third-party providers such as AppsFlyer and Kochava).

 3         Google tracks app campaign ad spend that is bid against different types of conversions.

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                   16
                   GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                          Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 18 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                         17
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 19 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                         18
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS       Document 341-14        Filed 10/13/23    Page 20 of 27

                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1                                                                           were produced at

 2   GOOG-RDGZ-00184247 (2017-2020) and GOOG-RDGZ-00185744 (2021).

 3

 4

 5

 6

 7

 8

 9   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 17:
10         Subject to and without waiving the foregoing, Google responds further as follows:
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                 19
                 GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                           TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                        Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 21 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                         20
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 22 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                         21
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 23 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                         22
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS   Document 341-14    Filed 10/13/23   Page 24 of 27

                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                  Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS      Document 341-14     Filed 10/13/23    Page 25 of 27

                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
     Dated: February 14, 2023                     WILLKIE FARR & GALLAGHER LLP
15

16                                                By: /s/ Eduardo E. Santacana
                                                              Eduardo E. Santacana
17
                                                  Attorneys for Defendant Google LLC
18

19

20

21

22

23

24

25

26

27

28                                            24
                GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                          TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                     Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS          Document 341-14        Filed 10/13/23     Page 26 of 27

                       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1                                         PROOF OF SERVICE
 2            I am employed in the City and County of San Francisco, State of California. I am over the

 3   age of eighteen years and not a party to the within action. My business address is Willkie Farr &

 4   Gallagher LLP, One Front Street, San Francisco, CA 94111.

 5            On February 14, 2023, I served the following document(s) on the individuals identified

 6   below:

 7    DEFENDANT GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND
            RESPONSES TO PLAINTIFFS’ INTERROGATORIES, SET SIX
 8

 9     by E-MAIL VIA PDF FILE, by transmitting on this date via e-mail a true and correct
10      copy scanned into an electronic file in Adobe “pdf” format. The transmission was reported
        as complete and without error.
11

12                                            SERVICE LIST
13
     Mark C. Mao                                       James Lee
14   Beko Osiris Ra Reblitz-Richardson                 Rossana Baeza
     Alexander Justin Konik                            BOIES SCHILLER FLEXNER LLP
15   Erika Britt Nyborg-Burch                          100 SE Second Street, Suite 2800
     BOIES SCHILLER FLEXNER LLP                        Miami, FL 33131
16   44 Montgomery Street, 41st Floor                  Telephone: (305) 539-8400
     San Francisco, CA 94104                           E-mail: jlee@bsfllp.com
17
     Telephone: (415) 293 6858                         E-mail: rbaeza@bsfllp.com
18   Facsimile: (415) 999 9695
     E-mail: mmao@bsfllp.com
19   E-mail: brichardson@bsfllp.com
     E-mail: akonik@bsfllp.com
20   E-mail: enyborg-burch@bsfllp.com
21   Jesse Michael Panuccio                            Amanda Bonn
22   BOIES SCHILLER FLEXNER LLP                        SUSMAN GODFREY LLP
     1401 New York Avenue, NW                          1900 Avenue of the Stars, Suite 1400
23   Washington, DC 20005                              Los Angeles, CA 90067
     Telephone: (202) 237-2727                         E-mail: abonn@SusmanGodfrey.com
24   E-mail: jpanuccio@bsfllp.com
25   William Christopher Carmody
26   Shawn J. Rabin
     Steven M. Shepard
27   Alexander Patrick Frawley
     Ryan Sila
28                                               25
       PROOF OF SERVICE RE: GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                       Case No. 3:20-CV-04688
     Case 3:20-cv-04688-RS         Document 341-14        Filed 10/13/23      Page 27 of 27

                      HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
 2   New York, NY 10019
     Telephone: (212) 336-8330
 3
     E-mail: bcarmody@susmangodfrey.com
 4   E-mail: srabin@susmangodfrey.com
     E-mail: sshepard@susmangodfrey.com
 5   E-mail: afrawley@susmangodfrey.com
     E-mail: rsila@susmangodfrey.com
 6
     Ian B. Crosby
 7   Jenna Golda Farleigh
 8   SUSMAN GODFREY LLP
     401 Union Street
 9   Ste. 3000
     Seattle, WA 98101-3000
10   Telephone: 206-516-3880
     E-mail: icrosby@susmangodfrey.com
11
     E-mail: jfarleigh@susmangodfrey.com
12

13   John A. Yanchunis                                 Michael Francis Ram
     Ryan J. McGee                                     MORGAN & MORGAN
14
     Jean Sutton Martin                                COMPLEX LITIGATION GROUP
15   Ra Olusegun Amen                                  711 Van Ness Avenue, Suite 500
     MORGAN & MORGAN                                   San Francisco, CA 94102
16   COMPLEX LITIGATION GROUP                          Telephone: (415) 358-6913
     201 N. Franklin Street, 7th Floor                 E-mail: MRam@forthepeople.com
17   Tampa, FL 33602
18   Telephone: (813) 223-5505
     E-mail: jyanchunis@forthepeople.com
19   E-mail: rmcgee@forthepeople.com
     E-mail: jeanmartin@forthepeople.com
20   E-mail: ramen@forthepeople.com
21

22
            Executed on February 14, 2023 at San Francisco, California.
23
            I declare under penalty of perjury under the laws of the United States that the above is true
24
     and correct.
25
                                                               /s/ Marsi Allard
26                                                                           Marsi Allard

27

28                                               26
       PROOF OF SERVICE RE: GOOGLE LLC’S SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES
                             TO PLAINTIFFS’ INTERROGATORIES, SET SIX
                                       Case No. 3:20-CV-04688
